Case 9:23-cv-81467-DMM Document 6-1 Entered on FLSD Docket 12/08/2023 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                CASE NO: 9:23-CV-81467-DMM

  ALEXIS AMENDOLA, individually and on
  behalf of all others similarly situated,

                 Plaintiff,

         v.

  G-STAR RAW ESTORE, INC.,

                 Defendant.


   [PROPOSED ORDER] REGARDING DEFENDANT’S UNOPPOSED MOTION FOR AN
                    EXTENSION OF TIME TO ANSWER OR
              OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT

         THIS CAUSE having come before the Court on Defendant’s Unopposed Motion for an

  Extension of Time to Answer or Otherwise Respond to Plaintiff’s Complaint (the “Motion”).

  This Court having considered the Motion and all other relevant factors, it is hereby

         ORDERED AND ADJUDGED that:

         The Motion is GRANTED. Defendant G-Star Raw Estore, Inc. shall answer or otherwise

  respond to Plaintiff’s Complaint by January 10, 2024.

         DONE AND ORDERED in Chambers at                                                 , Florida,

  this         day of                                     .

                                                       ______________________________
                                                             United States District Judge

  Copies furnished to: All Counsel of Record
